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                                                                                         APPENDIX A
                                                                                     CURRICULUM VITAE
                                                                                               OF
                                                                                      Nicholas J. Chambers




    POSITION                        Senior Vice President, AlixPartners, LLP, Washington, D.C.

    EDUCATION                       B.S., Computer Engineering and Computer Science
                                    University of Southern California


    PROFESSIONAL                    Mr. Chambers has almost a decade of experience in information
    HISTORY                         technology and as a forensic investigator. He has experience with
                                    forensic collections of digital evidence, forensic analysis, and several
                                    programming languages, including C++, Java, and scripting tools.


    PROFESSIONAL                    Mr. Chambers has provided digital forensic consulting and
    EXPERIENCE                      electronic discovery services in hundreds of civil and criminal
                                    matters. Prior to joining AlixPartners, he consulted at a leading
                                    electronic discovery firm on digital forensics engagements.



    RANGE OF                        Mr. Chambers has performed a variety of services related to
    EXPERIENCE                      computer forensics and investigations. A sample of these include:
                                        Defensible forensic collection of ESI
                                        Examination of electronic media
                                        Best practices related forensic collection, evidence handling, and
                                          forensic analysis
                                        Recovery of deleted data
                                        Examination of encrypted data
                                        Filtering and searching for responsive documents
                                        Client site assessment of ESI, assistance with identification
                                          of items potentially responsive to eDiscovery obligations
                                        Creation of custom script and programming solutions


    PROFESSIONAL                    High Technology Crime Investigation Association (HTCIA)
    AFFILIATIONS



    ACCREDITATIONS                  EnCase® Certified Examiner (EnCE), Guidance Software
    AND LICENSES                    CCE Certification in Progress


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    ADDITIONAL                        FOR585: Advanced Smartphone Forensics, The SANS Institute
    TRAINING AND                      FOR518: Mac and iOS Forensics Analysis and Incident Response, The
    EDUCATION                         SANS Institute
                                      EnCase Advanced Computer Forensics, Guidance Software
                                      EnCase Forensic 8: Program Review, The SANS Institute
                                      Memory Acquisition Tools and Techniques, The SANS Institute
                                      HTCIA 2018 International Conference Seminars, HTCIA
                                      HTCIA 2015 International Conference Seminars, HTCIA
                                      HTCIA 2013 International Conference Seminars, HTCIA



    EXPERT                            Orta v. Orta
    WITNESS                           Case Number: 155377 FL
    TESTIMONY
                                      Court:             Circuit Court for Montgomery County, Maryland
                                      Type:              Deposition
                                      Date:              01/04/2019




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